 Case 18-30840      Doc 66    Filed 09/24/19 Entered 09/24/19 16:00:21       Desc Main
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        UNITED STATES BANKRUPTCY COURT FOR THE
                 DISTRICT OF MASSACHUSETTS
_______________________________
IN RE:                          )
     SUSAN K. CHARNOK           ) CHAPTER 7
                     Debtor,    ) CASE #18-30840-EDK
_______________________________)



        NOTICE OF WITHDRAWAL OF NOTICE OF TRUSTEE’S REQUEST
              FOR AUTHORITY TO ABANDON REAL PROPERTY
                     (93 Grassy Plains, Bethel, CT 06801)


       NOW comes Jack E. Houghton, Jr., Chapter 7 Trustee in the above mentioned matter and
hereby WITHDRAWS his Notice of Trustee’s Request For Authority To Abandon Real Property
(93 Grassy Plains, Bethel, CT 06801), filed on September 5, 2019 (Doc. #62).




Date: September 23, 2019                   /s Jack E. Houghton, Jr.
                                         Jack E. Houghton, Jr., Trustee
                                         78 Bartlett Avenue
                                         Pittsfield, MA 01201
                                         (413) 447-7385
                                         BBO #241040
